     Case 3:20-cv-00135-MMD-CLB Document 7 Filed 04/20/20 Page 1 of 2



1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     ANTHONY BROOKS,                                      Case No. 3:20-cv-00135-MMD-CLB
4                                            Plaintiff                    ORDER
5            v.
6     ALZATE, et al.,
7                                       Defendants
8
9    I.     DISCUSSION

10          On March 2, 2020, this Court ordered Plaintiff to file a fully complete application to

11   proceed in forma pauperis or pay the full $400 filing fee for a civil action within forty-five

12   (45) days from the date of that order. (ECF No. 3 at 2). On April 15, 2020, Plaintiff filed

13   a motion for an extension of time to file a fully complete application to proceed in forma

14   pauperis because he had not yet received his financial certificate from the NDOC. (ECF

15   No. 6 at 1). The Court now grants Plaintiff’s motion for an extension of time. Plaintiff shall

16   file a fully complete application to proceed in forma pauperis or pay the full $400 filing fee

17   on or before June 4, 2020.

18   II.    CONCLUSION

19          For the foregoing reasons, IT IS ORDERED that the motion for extension of time

20   (ECF No. 6) is granted.

21          IT IS FURTHER ORDERED that on or before June 4, 2020, Plaintiff shall either:

22   (1) file a fully complete application to proceed in forma pauperis, on the correct form with

23   complete financial attachments in compliance with 28 U.S.C. § 1915(a); or (2) pay the full

24   $400 fee for filing a civil action (which includes the $350 filing fee and the $50

25   administrative fee).

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     Case 3:20-cv-00135-MMD-CLB Document 7 Filed 04/20/20 Page 2 of 2



1           IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,
2    dismissal of this action may result.
3           DATED: April 20, 2020.
4
5                                           UNITED STATES MAGISTRATE JUDGE
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